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               UNITED STATES DISTRICT COURT                       'OH SEP    Q; J 7
               SOUTHERN DISTRICT OF GEORGIA *
                                                                        L
                        SAVANNAH DIVISION


UNITED STATES OF AMERICA          )
                                  )
V.                                )     Case No. CR410-159
                                  )
AL WELCH                          )

                               ORDER
      After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

no objections have been filed. Accordingly, the Report and Recommendation

of the Magistrate Judge is adopted as the opinion of the Court.

       SO ORDERED this           "day                   , 2011.



                                  YJ
                                 XAVOYMMFIELD
                                 UNITED STATES DISTRW JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA
